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                                                            October 30, 2020
Via ECF

The Honorable Denise L. Cote
United States District Court
Southern District of New York
500 Pearl Street, Room1610
New York, New York 10007

       Re:    Encarnacion et al. v. City of New York, 16 Civ. 156 (DLC) (JCF)

Dear Judge Cote:

        I write on behalf of Plaintiffs to request that the Court order the parties’ agreed-upon
briefing schedule for Plaintiffs’ motion, filed yesterday (October 29), to enforce the so-ordered
settlement agreement (“Settlement”) in this matter. ECF No. 94. As explained further in
Plaintiffs’ motion papers, the Court ordered the Settlement on February 12, 2018, and after two
extensions on consent, the Settlement is set to sunset soon, without Defendant achieving
compliance with a key term. The parties have agreed to a briefing schedule on Plaintiffs’ motion,
as follows:

       Plaintiffs’ motion: filed on October 29, 2020
       Defendant’s response: due by December 11, 2020
       Plaintiffs’ reply: due by December 22, 2020

Thank you for your consideration of this request.

                                            Respectfully submitted,

                                            By:     /s/ Niji Jain

                                            Niji Jain
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cc: All Counsel (via ECF)
